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 8                            IN THE UNITED STATES DISTRICT COURT

 9            FOR THE NORTHERN DISTRICT OF CALIFORNIA—SAN FRANCISCO

10 GAVIN NEWSOM, IN HIS OFFICIAL                        Case No.: 3:25-cv-04870-CRB
   CAPACITY AS GOVERNOR OF THE
11 STATE OF CALIFORNIA; STATE OF                        EX PARTE APPLICATION OF AMICUS
   CALIFORNIA,                                          CURIAE ARMAN MATEVOSYAN ESQ.,
12                                                      A PROFESSIONAL CORPORATION
        Plaintiffs,                                     FOR LEAVE TO FILE AMICUS BRIEF
13 vs.                                                  ORDER
                                                        Hearing
14 DONALD TRUMP, IN HIS OFFICIAL                        Date:
   CAPACITY AS PRESIDENT OF THE                         Time:
15 UNITED STATES; PETE HEGSETH, IN                      Courtroom:
   HIS OFFICIAL CAPACITY AS                             Judge: Hon. Charles R. Breyer
16 SECRETARY OF THE DEPARTMENT                          Trial Date:
   OF DEFENSE; U.S. DEPARTMENT OF                       Action Filed: 6/9/2025
17 DEFENSE,

18          Defendants.

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21          The district court has broad discretion to permit the filing of amicus briefs. Hoptowit v. Ray,
22 682 F.2d 1237, 1260 (9th Cir. 1982). “An amicus curiae is not a party to litigation.” Miller-Wohl

23 Co., Inc. v. Comm’r of Labor and Indus., State of Montana, 694 F.2d 203, 204 (9th Cir. 1982) (citing

24 Clark v. Sandusky, 205 F.2d 915, 917 (7th Cir. 1953). Instead, the “classic role” of amicus curiae is

25 “assisting in a case of general public interest, supplementing the efforts of counsel, and drawing the

26 court’s attention to law that escaped consideration.” Id. Because amicus curiae are not a party, they
27 have “no control over the litigation and no right to institute any proceedings in it, nor can [they] file

28 any pleadings or motions in the case.” NGV Gaming, Ltd. v. Upstream Point Molate, LLC, 355

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                                                             EX PARTE APPLICATION OF AMICUS CURIAE
        Case 3:25-cv-04870-CRB            Document 58            Filed 06/12/25    Page 2 of 2




 1 F.Supp.2d 1061, 1068 (N.D. Cal. 2005). It is “within the Court’s discretion” whether to allow amici

 2 to file a brief, and courts generally exercise ”great liberality” in permitting amicus briefs. California

 3 by & through Becerra v. United States Dep’t of the Interior, 381 F. Supp. 3d 1153, 1164 (N.D. Cal.

 4 2019) (citation omitted). What is required is a statement of interest and a helpful proposed brief.

 5          Here, the nature of the interest of the amicus curiae is a small group of California attorneys

 6 that have lived and operated in Los Angeles for nearly four decades. They are citizens, business

 7 owners, and community members that service the exact population that is directly affected by the

 8 Governor’s policy positions. For the reasons set forth in the supporting declarations and the

 9 proposed brief here, the amicus curiae seek to uphold Federal Law to stop the on-going violent riots

10 and destruction of property, and to further prevent a repeat of the chaos experienced just six months

11 ago as a result of the Palisades Fires. Thus, the requirements of an amicus curiae are met here,

12 however small this group is. Accordingly, the amicus curiae seek leave to file the proposed brief.

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14 Respectfully submitted,

15 Date: June 12, 2025                               THE MATEVOSYAN LAW FIRM

16                                                  By: /s/Arman Matevosyan, Esq.
                                                    Arman
                                                    ISTRIMatevosyan,   Esq.
17                                              ES DAttorneys
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         Date: June 12, 2025
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                                                                EX PARTE APPLICATION OF AMICUS CURIAE
